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Joseph R. Filas, CFI, CFEI, CFI(V)
Senior Fire Consultant




Background
                                                                                Contact Information
Mr. Filas holds a Bachelor of Science degree in Fire and Safety                         (720) 488-8710
Technology with an emphasis in Fire, Arson, and Explosion                             jrfilas@rimkus.com
Investigation from Eastern Kentucky University. He is a Certified Fire
Investigator (CFI) with the motor vehicle endorsement with the
                                                                                   8100 S. Akron Street,
International Association of Arson Investigators, a Certified Fire and
                                                                                               Suite 320
Explosion Investigator (CFEI) with the National Association of Fire
                                                                                  Centennial, CO 80112
Investigators, and a Certified Fireplace Inspector (CFI) with Fireplace
Investigation, Research, and Education. He has been recognized as
an expert, in both state and federal courts, and has extensive trial and
deposition testimony experience.

He has been responsible for the direct management of over 1,700 assignments investigating and
analyzing the origin and cause of fire and explosions related to residential, commercial, automobiles,
heavy equipment, and oil and gas industry. His consulting expertise includes the evaluation of
commercial kitchen cooking equipment, fire suppression systems, exhaust ducts and fans, and code-
required inspections and cleaning services. He is knowledgeable on standard practices regarding fire
investigation methodology, fire science, fire dynamics, and evidence collection procedures. His
professional experience includes an understanding of building and fire codes, and the relation between
codes and construction that can contribute to the cause and spread of a fire. He has considerable
experience interviewing witnesses and working collaboratively with responding firefighters, state and
federal agencies, and other pertinent third-party organizations.

Mr. Filas has expansive knowledge of fireplace and chimney construction and associated building codes,
manufacturer-required installation procedures/instructions related to factory built-fireplaces and heating
appliances, and code-required inspections of existing fireplaces and chimneys.

Mr. Filas is a member of the International Association of Arson Investigators (IAAI), International
Association of Arson Investigators (Colorado Chapter), and the National Association of Fire Investigators
(NAFI).


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                                                                                          EXHIBIT B
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Professional Engagements
 • Criminal Innocence Project
   • Boon, MI (2011 – 2014), Requested by the Michigan Innocence Clinic to evaluate the origin and
     cause of the fire, review the investigation and findings of State experts, and provide written
     affidavits of findings in the People of the State of Michigan vs. Victor John Caminata. Mr. Caminata’s
     2008 Arson conviction was vacated in 2014 as a result of findings.

 • Emergency Medical Technician
   • Suffolk, VA (1995 – 2000), Volunteered at Bennett's Creek Volunteer Rescue Squad. Worked
     collaboratively with emergency service and fire department personnel in responding to dispatched
     calls including medical emergencies, fires, and auto accidents. Provided pre-hospital urgent care,
     life support, and patient transport.


Forensic Engagements
 • Fire, Arson, and Explosion Investigations
   • Commercial Building – Grand Junction, CO (April 2012), Investigated a commercial fire originating
     from a vehicle that severely fire damaged and collapsed the Ed Bozarth Chevrolet structure.
     Provided conclusions and opinions about subject loss that led to the successful conclusion of the
     case.

 • Code Compliance
   • Residential Structure Fire – Wauwatosa, WI (February 2011), Evaluated code compliance and
     manufacturer-required installation procedures regarding the improper installation of the fireplace.
     Testified how the installation defects and aftermarket product additions caused the fire that led to
     the successful conclusion of the case.


Professional Experience
 • Rimkus Consulting Group, Inc.                                                          2007 – Present
   • Senior Fire Consultant
     Conduct fire, arson, and explosion investigations including residential, commercial, industrial, oil
     and gas industry, heavy equipment, and automobile losses for insurance companies,
     manufacturers, and law firms. Consulting and expert witness services for litigation-related matters
     involving fire and explosion origin and cause, fire injury or death, and product liability. Inspections
     of fire detection, suppression, and extinguishing systems. Management, supervision, and tracking
     of case-related physical evidence. Development and presentation of training courses, including
     live-burn demonstrations, related to fire investigations for adjusters, law firms, and manufacturers.


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 • Applied Technical Services, Inc.                                                                     2007
   • Fire Consultant – Fire Division
     Conduct fire, arson, and explosion investigations including residential, commercial, industrial, heavy
     equipment, and automobile losses for insurance companies, manufacturers, and law firms.
     Consulting and expert witness services for litigation-related matters involving fire and explosion
     origin and cause, fire injury or death, and product liability. Inspections of fire detection, suppression,
     and extinguishing systems. Consulting services to the insurance and legal professions.
     Management, supervision, and tracking of case-related physical evidence.

 • Rimkus Consulting Group, Inc.                                                              2001 – 2007
   • Fire Consultant – Fire Division
     Conduct fire, arson, and explosion investigations including residential, commercial, industrial, oil
     and gas industry, heavy equipment, and automobile losses for insurance companies,
     manufacturers, and law firms. Consulting and expert witness services for litigation-related matters
     involving fire and explosion origin and cause, fire injury or death, and product liability. Inspections
     of fire detection, suppression, and extinguishing systems. Write company policies on the
     management, supervision, and tracking of physical evidence while in the possession of company.
     Management, supervision, and tracking of case-related physical evidence. Development and
     presentation of training courses related to fire investigations for adjusters, law firms, and
     manufacturers.

 • Interscience, Inc.                                                                 2000 – 2001
   • Fire Investigator/Loss Analyst – Fire Division
     Conduct fire, arson, and explosion investigations on residential, commercial, marine, and
     automobile losses for insurance companies and law firms in the state of Florida.


Education and Certifications
 • Fire and Safety Technology, B.S.: Eastern Kentucky University (1999)
 • Certified Fireplace Inspector (CFI): Fireplace, Investigation, Research, and Education Service (2008)
 • Certified Fire Investigator (CFI (V)): International Association of Arson Investigators (2006)
 • Certified Fire & Explosion Investigator (CFEI): National Association of Fire Investigators (1999)
 • Licensed Private Detective: Arizona
 • Licensed Private Investigator: Montana, Nevada, Texas, and Washington


Continuing Education
 • CFITrainer.net (IAAI): Knowledge 1 Motor Vehicle Fires Tier 1; Investigating Motor Vehicle Fires;
   Motor Vehicles: The Engine and the Ignition, Electrical, and Fuel Systems; Motor Vehicles:
   Transmission, Exhaust, Brake, and Accessory Systems; Fire Protections Systems; Using Resources
   to Validate your Hypothesis; Residential Electrical Systems; Explosion Dynamics; NFPA 1033 and
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   Your Career; Investigating Natural Gas Systems; The Potential Value of Electronic Evidence in Fire
   Investigations; NFPA 921 and 1033 2014 Editions: Important Revisions; Critical Thinking Solves
   Cases; Fundamentals of Residential Building Construction; Documenting the Event; Fundamentals
   of Interviewing; Testimony Course
 • HPBE Expo: Codes, Standards and Installation Instructions: The Black and White of Hearth
   Installations; National Fireplace Institute Gas Review Class; National Fireplace Institute
   Woodburning Review Class
 • IAAI/NAFI: 65th IAAI International Training Conference; 41st Southeastern Arson Seminar, Georgia
   Fire Investigators Association; 23rd Annual Fire and Arson Investigation School; 40th Southeastern
   Arson Seminar, Georgia Fire Investigators Association, National Advanced Fire, Arson, and Explosion
   Investigation Seminar, NAFI
 • Other: Fundamentals of Motor Vehicle Fire Investigation, Society of Automotive Engineers;
   Prevention and Investigation of Commercial Kitchen Fires, International Code Council; Investigating
   Solid Fuel-Burning Appliance Fires, Fire-Findings; Deposition and Trial Testimony Training, Rimkus
   Consulting Group, Inc.; Fireplace Inspection, FP-01/FP-02/FP-03, Fireplace Investigation, Research,
   & Education Service; Investigation of Gas and Electrical Appliance Fires, Fire-Findings; Product
   Failure Analysis, Rimkus Consulting Group, Inc.; Certified Fire Protection Specialist Primer Course,
   NFPA; Fire Investigators Conference, Professional Arson CO-OP of Florida


Publications
 • “The Modern Fireplace: The Complexity of Factory-Built Fireplace Fire Investigations.” Colorado
   Claims, Volume 8, Number 2, July 2010, pp. 1-4.
 • “Factory-Built Fireplace Fires: Why the Cozy Fire goes Awry.” Property & Liability Resource
   Bureau: Test Your Claims Knowledge, 2013.




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